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                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


HAIR STUDIO 1208, LLC, individually and on
behalf of all others similarly situated,
                                                   CIVIL ACTION
                      Plaintiff,
                                                   Case No. 2:20-cv-2171
v.

HARTFORD UNDERWRITERS INSURANCE
CO.,

                      Defendant.




                             DECLARATION OF JOSEPH G. SAUDER

       I, Joseph G. Sauder declare:

       1.     I am a partner at Sauder Schelkopf LLC, and one of the attorneys representing

Plaintiff Hair Studio 1208, LLC. I am over 18 years of age and am competent to testify. The

facts contained in this Declaration are based on my personal knowledge.

       2.     Attached hereto are true and correct copies of:

       Exhibit 1: Order, Ridley Park Fitness, LLC v. Phila. Indem. Ins. Co., No. 200501093 (Ct.

       Com. Pl. Phila. Cty. Aug. 31, 2020);

       Exhibit 2: Order, Taps & Bourbon on Terrace, LLC v. Underwriters at Lloyd’s London,

       No. 200700375 (Ct. Com. Pl. Phila. Cty. Oct. 26, 2020); and

       Exhibit 3: Transcript of Proceedings, Optical Servs. USA/JC1 v. Franklin Mut. Ins. Co.,

       No. BER-L-3681-20 (N.J. Super. Ct. Law Div. Aug. 13, 2020).




                                               1
       Case 2:20-cv-02171-MSG Document 48-2 Filed 12/23/20 Page 2 of 41




       I swear or affirm under penalty of perjury under the laws of the United States that the

within and foregoing declaration which was made on the date indicated below in Berwyn,

Pennsylvania, is true and correct.

       DATED this 23rd day of December, 2020.


                                              By: s/ Joseph G. Sauder
                                                 Joseph G. Sauder (PA#82467)




                                                2
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                                  CERTIFICATE OF SERVICE

         I certify that on 23rd day of December, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notice of such filing to all known

counsel of record.



                                               By: s/ Jospeh G. Sauder
                                                  Joseph G. Sauder (PA#82467)

4818-4061-0773, v. 1




                                                  3
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            EXHIBIT 1
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                                                                                                         RECEIVED

                                                                                                              AUG 3 1-2020
                                 FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                CIVIL TRIAL DIVISION
                                                                                                        CMLTR^DlVISl'ON
           RIDLEY PARK FITNESS, LLC                                       MAY TERM, 2020
                                                                                                         docketed
                            Plaintiff                                     NO. 01093


                   v.                                                     COMMERCE PROGRAM
                                                                                                              AUG 3 1 2020
                                                                                                              S. HARVEY, JR.
           PHILADELPHIA INDEMNITY INSURANCE                               CONTROL NO. 20080358 CIVIL TRIAL DIVISION
           COMPANY


                            Defendants


                                                          ORDER


                   AND NOW, this 3 1st day of August, 2020, upon consideration of the preliminary

           objections filed by defendant Philadelphia Indemnity Insurance Company to plaintiffs amended


           complaint, and any response thereto, it is hereby

                                                                                          Ridley Park Fitness, LI-ORDER
                                                        ORDERED



           that the preliminary objections are OVERRULED, without prejudice.1
                                                                                          20050109300043
                                                                                                20050109300043




           1 Pursuant to Pa. R.C.P. 1028(a)(4), a party may raise a preliminary objection due to legal
           insufficiency of a pleading (demurrer). When considering preliminary objections, all material
           facts and reasonable inferences set forth in the challenged complaint must be admitted as true.
           Haun v. Cmty. Health Sys. Inc.. 14 A. 3d 120, 123 (Pa. Super. 201 1) (citation omitted). A court
           may not consider facts that are not contained within the challenged pleading. See Detweiler v.
           School Dist. Of Borough of Hatfield, et ah. 104 A.2d 110, 113 (Pa. 1954). Additionally, a court
           need not accept conclusions of law. See Dominski v. Garrett 419 A.2d 73, 75 (Pa. Super. 1980).
                   This litigation arises from the denial of insurance coverage for business losses at a fitness
           center as a result of the COVID-19 pandemic and the resulting state and local orders mandating
           that all non-essential businesses be temporarily closed. Defendant alleges in the instant
           preliminary objections that plaintiffs failure to attach the insurance agreement in total
           constitutes a failure to plead, which defendant has cured by attaching the agreement in full, that
           certain clauses including a virus exclusion and "direct physical loss" bar coverage, and finally,
           that plaintiff is not entitled to a declaratory judgment.
                   At this very early stage, it would be premature for this court resolve the factual
           determinations put forth by defendants to dismiss plaintiffs claims. Taking the factual
           allegations made in plaintiffs complaint as true, as this court must at this time, plaintiff has




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                                                     BY THE COURT:




                                                     GLAZER,/T.
                                                                      jjL.




successfully pled to survive this stage of the proceedings. As such, the preliminary objections are
overruled.
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            EXHIBIT 2
         Case 2:20-cv-02171-MSG Document 48-2 Filed 12/23/20 Page 8 of 41




        IN THE COURT OF COMMON PLEAS OF PHILADELPHIA COUNTY
                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                                                                 DOCKETED
                                    CIVIL TRIAL DIVISION
                                                                                                          uL

 TAPS & BOURBON ON TERRACE, LLC                          JULY TERM, 2020
                                                                                                  R. POSTELi
                             Plaintiff                                                        COMMERCE PE ;
                                                         NO. 00375
 v.

                                                         COMMERCE PROGRAM
 UNDERWRITERS AT LLOYDS LONDON
 and MAIN LINE INSURANCE OFFICES,                         CONTROL NO. 20093025
 INC.
                           Defendants



                                               ORDER
                               tL
         AND NOW, this          day of October, 2020, upon consideration of defendant Certain

Underwriters at Lloyd's, London's, improperly identified as "Those Certain Underwriters at

Lloyd's London" preliminary objections to plaintiffs complaint, and any response thereto, it is

hereby

                                                                          Taps & Bourbon On Terra-ORDER
                                             ORDERED


that the preliminary objections are OVERRULED. i
                                                                           20070037500035
                                                                                 20070037500035



1 Pursuant to Pa. R.C.P. 1028(a)(4), a party may raise a preliminary objection due to legal
insufficiency of a pleading (demurrer). When considering preliminary objections, all material
facts and reasonable inferences set forth must be admitted as true. Haun v. Cmtv. Health Svs.
Inc.. 14 A.3d 120, 123 (Pa. Super. 201 1) (citation omitted). A court may not consider facts that
are not contained within the challenged pleading. See Detweiler v. School Dist, Of Borough of
Hatfield, et al.. 104 A.2d 110, 113 (Pa. 1954).
        This litigation arises from the denial of insurance coverage for business losses as a result
of the COVID-19 pandemic and the resulting state and local orders mandating that all non
essential businesses be temporarily closed. In the instant preliminary objections, defendant
alleges that plaintiffs claim is not covered under the policy because, inter alia, there is no
"direct physical loss" or "damage to" the property, the civil authority coverage provision does
not apply, and the virus exclusion provision precludes coverage. Additionally, defendant alleges
that since the claim is not covered, a bad faith claim cannot survive.
         At this very early stage, it would be premature for this court resolve the factual
determinations put forth by defendant to dismiss plaintiffs claims. Taking the factual allegations
made the plaintiffs complaint as true, as this court must at this time, plaintiff has successfully
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                                                    BY THE COURT:




                                                    GLAZ1




pled to survive this stage of the proceedings. Moreover, the law and facts are rapidly evolving in
the area of COVID-19 related business losses. Accordingly, the preliminary objections are
overruled.
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            EXHIBIT 3
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Case l:20Qas© 2:20-cv-00862-WSS cDocument
              a320-eV-00&62-W£S) Document48-2
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                                                         SUPERIOR         COURT       OF    NEW   JERSEY
                                                         LAW       DIVISION:      CIVIL       PART
                                                         BERGEN         COUNTY
                                                         (HEARD VIA            ZOOM)
                                                         DOCKET         NO:    BER-L-3681-20
                                                         A. D .     #


           OPTICAL    SERVICES          USA/             )
           JC1,    OPTICAL      SERVICES                 )
           USA,    LLC,    OPTICAL                       )                TRANSCRIPT
           SERVICES       USA-WO,       RE    &    LE    )
           HOLDINGS,       LLC,    STONG          OD     )                       OF
           EWING    NJ,    LLC,                          )
                                                         )                     MOTION
                           Plaintiffs,                   )
                                                         )
                      vs .                               )
                                                         )
           FRANKLIN       MUTUAL                         )
           INSURANCE       COMPANY,                      )
                                                         )
                           Defendant .                   )

                                              Place:          Bergen      County          Justice    Center
                                                              10   Main       Street
                                                              Hackensack,         New       Jersey    07601


                                                  Date:       August      13,    2020


           BEFORE :


                   HONORABLE       MICHAEL          N.       BEUKAS ,     J.S.C.


           TRANSCRIPT        ORDERED         BY:


                  AMINA RANA,           (Paul       Weiss          Rifkind Wharton            Garrison)


           APPEARANCES:


                   SEAN    E.   ROSE,        ESQ.       (Olender         Feldman,          LLP)
                  Attorney        for    Plaintiffs


                  ERIC     L.   HARRISON,              ESQ.    (Methfessel            &   Werbel)
                  Attorney        for    Defendant



                                              Transcriber:               Laura    Scicutella
                                              Phoenix          Transcription,               LLC
                                              796 Macopin Rd.
                                              West Milford,               NJ     07480
                                              (862) 248-0670


                                              Audio          Recorded
                                              Recording Opr:                  Alexa       D'Angelo
         Case
         Case2:20-cv-02171-MSG
              2:20-cv-00862-WSS cDocument
Case l:2OQaeeS300-dV+0086B-WSS)  Document48-2
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           Colloquy     re:   Housekeeping                       3, 7, 30


           ARGUMENTS :


           BY:   Mr.   Harrison                                  5, 7, 15


           BY:   Mr.   Rose                                      13


           THE   COURT:


           Decision                                              18
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                                                                                                                    3


  1                       (Proceeding                commenced at          9:30:49         a.m.)


  2                           THE    COURT:              Superior       Court       of    the    State    of


  3        New    Jersey,          Bergen       County Vicinage,                clerk       recording,


  4        Alexa    D'Angelo             law    clerk,          docket    number          BER-L-3681-20,


  5        caption       is       Optical       Services          USA/JCI       (sic),          Optical


  6        Services       USA,       LLC,       Optical          Services       USA-WO,          and Re       and


  7        Le    Holdings,          LLC,       Stong OP          Ewing NJ,          LLC    versus


  8        Franklin Mutual                Insurance             Company.        Judge       Michael       N.


  9        Beukas,       chambers             453.        The    time    is    approximately             9:32


 10        a.m.     May       I    have       the    appearances          of    counsel          for    the


 11        record,       please,          starting with             the       plaintiff?


 12                           MR.    ROSE:           Good morning,             Your       Honor.        Sean


 13        Rose    from the          law       firm of Olender                Feldman       on behalf          of


 14        plaintiff,             Optical       Services          USA/JCI,          Optical          Services


 15        USA,    LLC,       Optical          Services          USA-WO,       Re    and    Le       Holdings,


 16        LLC,    and    Stong OD             Ewing NJ,          LLC,    collectively


 17        plaintiffs,             Your       Honor.


 18                           THE    COURT:              Good morning,          Counsel.


 19                           MR.    ROSE:           Good morning.


 20                           MR.    HARRISON:              Good morning,                Judge.        Eric


 21        Harrison,          Methfessel             and Werbel,          on    behalf          of    Franklin


 22        Mutual    Insurance                Company.


 23                           THE    COURT:              Good morning,          Counsel.              Okay,


 24        gentlemen,             just    a    --    a    couple    of    --


 25                           RECORDING:                 (Indiscernible)
         Case
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              a320-eV-00&62-W£S) Document48-2
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                                                                                                                                   4


  1                           THE       COURT:                    reminders                before          we


  2                           RECORDING:                          is    now       in       the       conference.


  3                           MR.       HARRISON:                 Your      Honor,              this       is    Eric


  4        Harrison       speaking.                 As       a    courtesy,                I    should          let    the


  5        Court       know    I    do       have    a       few       folks          dialing             in.     They've


  6        all    been    instructed to                      keep       their phones                      on mute.


  7        Various       FMI       representatives                      and       a       colleague             of mine


  8        will    be    listening             in    but          will      not           be    participating.


  9                           THE       COURT:           Okay,          very          good.


 10                           For purposes                   of       our    established                   record here


 11        today,       gentlemen,             when          you       do    speak             at    oral       argument,          I


 12        do    need you          to    identify                yourself             in       between          oral


 13        arguments          so    that       the       transcription                         service          can    clearly


 14        identify which                attorney                is    speaking.


 15                           When       you    are          referencing                   an       oral    argument          to


 16        any    specific          controlling                   case,       I       need          you    to    identify


 17        that    case       for       the    record             and pursuant                      to    Rule    1:36-3,          I


 18        need    you    to       identify          for          the       record whether                      that    is    a


 19        published opinion                   in    the          State       of          New       Jersey versus             an


 20        unpublished opinion                      and whether                   or       not       you    are       citing


 21        to    any    law    of       any    other             jurisdiction                   including             the    US


 22        Supreme       Court          so    that       I       can    identify                for       the    record       as


 23        to    whether       or       not    any       of       the       law       is       controlling             in    this


 24        case    for    purposes             of    oral             argument.


 25                           In    addition,                we       are    on       a    Polycom          speaker
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  1        today       and       at    times          it       may be             difficult            for       you    to    hear


  2        me    and    I    may       need to             interject                   to       pose   a    question          to


  3        either       attorney                so    I    may have                to       elevate         my voice          so


  4        that    you       can       hear          me    clearly.                    So       please      don't


  5        misconstrue                me    elevating                my       --


  6                              RECORDING:                    (Indiscernible)


  7                              THE       COURT:                    voice


  8                              RECORDING:                          is       now          in    the   conference.


  9                              THE       COURT:              Okay,          gentlemen,               I          if    I    need


 10        to    elevate          my voice,                it's          for       purposes            of       the    Polycom


 11        picking          up    my voice                so    that          you          can    hear      it,       okay.


 12                              So    I    have          before             me    a       Motion      to       Dismiss       the


 13        Complaint             for       failure             to    state             a    claim upon            which


 14        relief       can       be       granted pursuant                            to       Rule   4:6-2(e)             filed


 15        by    the    defendant,                   Franklin                Mutual             Insurance         Company.


 16        So,    Mr.       Harrison,                this       is       your Motion.                      You    may


 17        proceed.


 18                              MR.       HARRISON:                 Yes,          sir.           Thank         you,    Your


 19        Honor .          We    are       all       aware,             I    know plaintiffs'                        counsel       is


 20        aware,       certainly my                      firm       as       an       insurance            defense          firm


 21        is    well       aware          of    the       fast-moving                      nature         of    developments


 22        in    insurance             litigation                   and       other             litigation            over


 23        Covid-1 9 .            Two       significant                      events             happened         yesterday


 24        and    they're             both       worthy             of       mention.              The      first       is,     and


 25        this    is       not       within          the       record,                but       the   Court                it' s
         Case
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                                                                                                                   6


  1        not    important          to    the    Court' s         decision          on    the    policy


  2        language,          but    it's             it's    significant             background.             The


  3        multi-district                litigation          panel       of    the    United       States


  4        District          Court       denied       a nation-wide Motion                   to


  5        Consolidate          these          business       interruption                litigations


  6        that    are       venued       in    various       Federal          Courts       around      the


  7        country essentially                   on    the    basis          that    the    policy


  8        language          differs       from policy             to    policy.           Even    though      a


  9        lot    of    insurers          use    (indiscernible)                income       and would


 10        other       insurers,          there       is    still       significant          differences


 11        between       those       forms       and the          facts       of particular            cases


 12        also    can       determine          whether       there          would be       coverage         and


 13        to    what    extent .


 14                           The    second       significant                thing    to happen


 15        yesterday          was    the       issuance       of       the    decision       that      Mr.


 16        Rose    brought          to    the    Court's          attention,          and    I    don't      have


 17        any objection             to    his    filing          it    yesterday because               it


 18        didn't       come    out       until       yesterday          and    I    have    had ample


 19        time    to    review          it.     It's       the    Studio       417       case    from U.S.


 20        District          Court,       Western          District          of Missouri,          Southern


 21        Division .          This       opinion,          which       I'm not       going       to


 22        significantly             disagree          with,       demonstrates             the    wisdom      of


 23        the MDO       panel       in    refusing          to    consolidate             because      the


 24        denial       of    the Motion          to       Dismiss       based       on    the


 25        allegations          in       that    complaint             bespeaks       the    importance
         Case
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              C2320-eV-00852-W$B)  Document48-2
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  1        of    policy       language             differing             from policy                to    policy       and


  2        alleged       facts          differing          from          complaint             to    complaint.


  3                           I    should          ask    as    a       courtesy whether                   the    Court


  4        has    any    objection                to me    talking about                   this          case    that


  5        Mr.    Rose       sent       yesterday.


  6                           THE       COURT:           What       I    would       like       you       to    do,


  7        Counsel,          is    argue          your Motion             to       Dismiss.              This    Court


  8        is    bound by          the       implications                of    Rule       1:36-3.              While    the


  9        parties       felt          compelled          to    cite          to    numerous             other


 10        jurisdictions                with       respect          to    their       arguments,                their


 11        respective             arguments             both    on       the       Motion       and       in    the


 12        Opposition,             this       Court       is    bound by             legal          precedent


 13        within       the       State       of New       Jersey,             namely          the       Appellate


 14        Division,          and the             New    Jersey          Supreme          Court.           With


 15        respect       to       the    US       Supreme       Court,             this             this       Court


 16        also    takes          precedent             from    the       US       Supreme          Court       for


 17        controlling             decisions.              So       this       Court       will          give


 18        whatever          weight          is    necessary             to    whatever             arguments


 19        reflect       in       the    controlling                legal precedent                      set    forth    in


 20        this    state          as    opposed to             other          states.           So       you    may


 21        proceed with                the    argument.


 22                           MR.       HARRISON:              Okay,          thank       you,       Your       Honor.


 23        I    just    --    I    just       wanted to make                   sure       that       the       Court


 24        didn't       want me          to       completely             disregard             this       decision.


 25        But    I'm going to                highlight             it    simply          to    contrast          it
         Case
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  1        with       a    case       we're             looking          at       in    order       to    argue         my


  2        position             under          New       Jersey          law.


  3                                 The    Studio             417       decision             describes             a   policy


  4        which          defines          a       covered             cause       of       loss,       and    that's          at


  5        page       2    of       the    opinion,                as    follows,             "Accidental                direct


  6        physical             loss       or       accidental                direct          physical             damage."


  7        It    goes          on    to    say          on    the       same      page,           "The    policies             do


  8        not    include             and are                not       subject          to    any exclusion                  for


  9        losses          caused by viruses                            or    communicable                diseases."


 10                                 Now,       I    want          to    be    clear          about       something.                 I


 11        want       to be          clear          about          a point             of    agreement             that


 12        Franklin             Mutual             has       with       the       plaintiffs             in    this       case.


 13        At paragraph                   36       of    the       Complaint                filed in          this       case,


 14        plaintiffs                recite             as    follows,             "There          is    no    known


 15        instance             of    Covid-19                transmission                   or    contamination


 16        within          the       premises                of    plaintiffs'                businesses."                   Now,


 17        the    declamation                      of    coverage             letter          that       FMI       issued


 18        prior          to    the       Complaint                being          filed       in    this       case       because


 19        the    Complaint                challenges                   that       declamation                of       coverage


 20        find       it       among       relevant                policy provisions                      the          exclusion


 21        of    12(c)          for       contamination                      by    any virus,             et       cetera.


 22        Because             the    complaint                   expressly             asserts          that          there    was


 23        no    contamination                      and because                   it    is    our       universal            duty


 24        to    read          as    accurate                all       facts       alleged in             the          complaint


 25        and    I       agree       that          the       contamination                   exclusion would not
        Case . 2:20-cv-02171-MSG
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   1        apply       to    this       case.        If    the    complaint             had       alleged       that


  2         there       was    contamination                on    the    premises,             then       there


   3        probably would be                   direct       physical          loss,          but    there       would


   4        also    be       exclusion          of    coverage          under       that virus


   5        exclusion .             So    what       we're       really       focused          on    is    the


   6        policy       language.              In    Studio       417,       the    definition             of    loss


   7        there       was    physical          loss       or physical             damage.


   8                           THE       COURT:        Okay,       but       we're       concerned          about


   9        New    Jersey.           We're       not       concerned          about       the       Western


 10         District          of    Missouri;          correct?


 11                            MR.       HARRISON:           That       is    true,       Your       Honor,       but


 12         we    are    concerned          about          policy       language          defining          direct


 13         physical          loss,


 14                            THE       COURT:        Okay,       but       the


 15                            MR.       HARRISON:                 but       I'm    --    I'm happy          to


 16         take    it


 17                            THE       COURT:              definition             (indiscernible)


 18                            MR.       HARRISON:           —     to    our policy                language.


 19                            THE       COURT:              definition             has       not been


 20         established by                any    court       in    this       state       with       the


 21         exception          of    the    Wakefern             case;       correct?


 22                            MR.       HARRISON:           I    think       that       is    absolutely


 23         correct .


 24                            THE       COURT:        Okay,       I    just       want       to    establish


 25         that    for       purposes          of    the    record.
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
               2:20-cv- 00862l-WSSo cDocument 26-3
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  1                            MR.       HARRISON:             Okay,        so back           to     our policy.


  2         The business             interruption                loss       that       --     of which


  3         plaintiffs          seek to             avail      themselves              governs         loss       of


  4         income       resulting             from direct                covered        loss.         We    go    to


  5         page     9   of    the       policy          form which             expressly            defines


   6        direct       covered loss                as    follows,             "The     fortuitous              direct


  7         physical          loss       as    described             in    Part       1 (c) ,      General        Cause


  8         of   Lost     Conditions,                Coverages            A,     B,    C,     which     occurs             at


   9        described premises                      occupied by             you."           Now,      the


 10         definition          is       (indiscernible)                   if    it    didn't         refer                if


 11         it   didn't        cross-reference                   another definition,                        then       we'd


 12         be   fighting           over whether               the        closure        of     a business


 13         because       of    a    risk of virus                   spread would constitute                           a


 14         fortuitous          direct             physical          loss.


 15                            However,             because          it    cross-references                  the


 16         description             of    direct          covered          loss       that's         also    in    the


 17         policy at          page       8.        We    go   to     the more           detailed


 18         definition .             Covered             loss,       "Means       fortuitous            direct


 19         physical          damage          to    or    destruction             of     covered property


 20         by   a   covered         cause          of    loss."           The    requirement               of    direct


 21         physical          damage          to    or    destruction             of     (indiscernible)


 22                            RECORDING:                 (Indiscernible) .


 23                            MR.       HARRISON:              --    requirement               of    direct


 24         physical          damage          to    or    destruction             of     covered property


 25         distinguishes                this       case       from the          Studio         417    case       in
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
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   1        that    there          is   the physical           damage          or       destruction


  2         requirement             that    was    absent       in       that       case       which             also       had


   3


   4                           RECORDING:           (Indiscernible)                      is    now          in    the


   5        conference .


   6                           MR.      HARRISON:         --    I    apologize                --       which       also


   7        had    the    open-ended             concept       of    loss       which          was          not


   8        defined.           Our      policy     defines          loss       as       requiring                that


   9        physical       impact.


 10                            The      Court     has    reviewed Wakefern                         I    know       and


 11         the          the       cases    --    the    New    Jersey          cases          discussed                in


 12         our    brief       I    agree    that       there       is    no    case          directly             on


 13         point     construing the               —     this       precise policy language                                  in


 14         the    context          a   claim where        there         was        a    closure             of    a


 15         business       because          of    the    risk       of    contamination                     by     a


 16         virus .       But       I   think     that    the       application                of       loss       that's


 17         set    forth       in New       Jersey       and    in       the    other          jurisdictions


 18         we've     cited as           persuasive,           although             not binding,


 19         compels       the       conclusion          that    this       did not meet                      the


 20         policy definition                of    direct       covered loss                   to       satisfy


 21         coverage .



 22                            THE      COURT:      Counsel,             let    me      pose                 let       me


 23         pose    one    question          to    you.        Why       didn't          the       policy          then


 24         have    specific            exclusions        for       an    event          such          as    this?


 25         Meaning       for       virus    proliferation.
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
               2:20-cv- 00862l-WSSo cDocument 26-3
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   1                           MR.       HARRISON:             Well,             it    --   it    precisely has


  2         an   exclusion              for    virus      proliferation.                         It    does          not    have


  3         an   exclusion              for    a    closure         of business                  based          on    the


  4         risk    of    virus          proliferation.                      I    can't       speak         to       the


  5         drafters          of    the       policy      other          than          to   say       this       is    an


   6        unprecedented                event.        First         in my             lifetime.                First       in


  7         my parents             and our         parents.              So,          yeah,      in             in    an


   8        ideal    world all                potential            cataclysmic                risks         could be


   9        underwritten                and    determined            in          advance         as    to       what       we're


 10         going    to       cover       and to       what         extent             or whether               there


 11         should be          any       coverage         at       all,          but before            we       get    to    the


 12         absence       of       an    exclusion,            and       I       agree      there          is    no


 13         exclusion          that would apply                     on       the       facts      as       alleged          in


 14         this    Complaint,                we   have    to       satisfy             the      coverage


 15         definition             first.


 16                            THE       COURT:        You         can       proceed,            Counsel.              Thank


 17         you .



 18                            MR.       HARRISON:             I             Your       Honor,         to             to be


 19         candid,       I    know       you've       reviewed                  the papers.                I'm happy


 20         to   address           any    further         questions                   the   Court may have                   or


 21         simply       reserve          an       opportunity               to       respond         to    my


 22         colleague.              I          I    think between                     our   papers          and what


 23         I've    had       to    say       this   morning             that          I've      stated          our       case.


 24                            THE       COURT:        Thank         you,             Counsel.             Okay,       Mr.


 25         Rose,    your          response?
        Case . 2:20-cv-02171-MSG
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               2:20-cv- 00862l-WSSo cDocument 26-3
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  1                            MR.       ROSE:           Thank       you,    Your       Honor.           And    just


  2         to    try    to    make          sure       that    there's       a    clean          record


  3         virtually,             this       is       again    Sean    Rose,          Olender          Feldman,       on


  4         behalf       of    plaintiff.


  5                            So       contrary          to    the    insurance             industry' s            well


   6        rehearsed talking                      points       and    --    and Mr.          Harrison          has    a


  7         very    good brief                and very          good    argument,             the       simple       fact


  8         is    that    plaintiff                and    the    many       other       in    the       --    and


   9        (indiscernible)                   plaintiffs             purchased business                      owners


 10         policies          to    insure             against,       among       other       things,


 11         unexpected business                         interruptions.                 And what          happened


 12         back    in March,                as    we    all    know because             we       all    lived


 13         through       it,       that's             about    as    unexpected             as    you       get.


 14         Plaintiffs             were       forced to          close       their businesses


 15         because       the       executive             order       issued by          the       State       —


 16         well,       the    State          pertinent          to    here,       but       issued          across


 17         the    country          in       emergency          response          to    the       pandemic          found


 18         that    there          is    a    dangerous          condition             on plaintiffs'


 19         property.              As    a    result       of    those       orders,          the       plaintiffs


 20         closed.           All       residents          were       told to          stay       at home       and


 21         (indiscernible)                   claims       (indiscernible) .


 22                            Now,          as    Mr.    Harrison          pointed          out,       the


 23         briefing          reflects             that    there       are    really          two main          points


 24         of    argument          that          --    that    I'll    hit       quickly because                   they


 25         are    recited          at       length       in    the    brief       is    the       first
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
               2:20-cv- 00862l-WSSo cDocument 26-3
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   1        (indiscernible)                    on       the    direct       physical          loss       issue.           We


  2         know     from,       and       just          to    again bide          by Your             Honor's


  3         directive,           we       know          that    under       the    Gregory             Packaging,


  4         Inc.     versus          Travelers                Property          Casualty          Company          of


  5         America        case,          which          is    an    unpublished          case,          but       from


   6        the    District           of       New       Jersey       and       cited    in       both Mr.


  7         Harrison' s          and our brief,                      we    know    that       a    dangerous


   8        condition           on    the       property             can    constitute             a    physical


   9        loss .        Now,       here,          we    have       an    executive          order          that       found


 10         that     plaintiffs'                businesses                were    deemed unfit                and


 11         unsafe        because          of       a    dangerous          condition.                 Plaintif f s '


 12         loss     of    income          caused by                the    closure       orders          concluding


 13         that     there was             a    dangerous             condition          on       the    property             is


 14         a   direct physical                     loss.           Alternatively,                if    we    wanted to


 15         get    into        the    legal             standard,          at    a minimum,             it    is


 16         plausible           the       plaintiffs                have    alleged       a       direct          physical


 17         loss     here       which          should defeat                a    (indiscernible)                   Motion


 18         and allow plaintiffs                          to    pursue          discovery,             among       other


 19         things,        to    discern                the    true       intent behind policy                      terms


 20         which,        in    some       cases,             points       to    coverage          but       in    other


 21         cases     it       may be          ambiguous .


 22                             The       second point                would be          the       civil       authority


 23         coverage           and    I             I    think       here,       the    Western          District             of


 24         Missouri           case       has       instructed,             and    I'll       get       to    that       in    a


 25         second,        here       we                we,    again,       we    know what             happened.
        Case . 2:20-cv-02171-MSG
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   1        We    all    lived through                      it.        The       closure          orders       forced


  2         plaintiffs             to    close          and banned                occupancy             of    all    non


  3         essential             businesses.                    In    doing          so,    the    closure          orders


  4         necessarily             not       only          affected plaintiffs'                         businesses,


  5         but    they       affected             all       —        all    properties             around


   6        plaintiffs .                It    was       a    stay-at-home                   order.           Unless       it


  7         was    an    essential                business,                everything             was    closed.           It' s


   8        alleged          —     it             it's       in       the    Motion          and,       you    know,


   9        beyond       that,          Your       Honor,             we    all       lived       through          it.     We


 10         were    all       there.              So,       again,          at    a    minimum,          it    is


 11         plausible             that plaintiffs                      are       entitled to


 12         (indiscernible)                   coverage                here.           And unless             Your    Honor


 13         has    any       questions,             I       know the             briefing was                fairly


 14         detailed.


 15                               THE    COURT:              Thank          you,       Mr.       Rose.        You    know,


 16         at    the    outset,             gentlemen,                I    do    commend          the       both    of    you


 17         with    respect             to    a    very,          very       difficult             topic       and


 18         concept          in    the       State          of    New       Jersey with             regard          to    the


 19         interpretation                   of    insurance                law.        I    did    find       that       the


 20         respective briefs                      were          very well             drafted.


 21                               Mr.    Harrison,                do       you    have       a    reply       at    this


 22         point?


 23                               MR.    HARRISON:                    Briefly,          Your       Honor,          yes.        Mr.


 24         Rose    says          the    executive                order          for             forced       closure


 25         based       on    a    finding          that          there          was    a    dangerous             condition
        Case . 2:20-cv-02171-MSG
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   1        on    plaintiffs'             property.                 That's                   that's       simply not


  2         the    case.           The    --       the    Complaint                does       not    allege          that.


   3        I    understand what                   he's       saying.              It          it ' s     a          it ' s   a


   4        directive          closing             down       non-essential                   businesses             based


   5        on    the    risk       that       putting          people             in    proximity             to    each


   6        other       indoors          could       result          in    transmission                   of    the


   7        virus ,      could       --       it    could result                   in    the       virus       sitting on


   8        a    piece    of       equipment             in    one    of       the       plaintiffs'


   9        examining          rooms,          but       the    Complaint                in    this       case


 10         expressly          alleges             that       there       has       been       no    known          instance


 11         of    Covid-19          transmission                or    contamination.


 12                            I    --    I    get       it    that       this          is    business


 13         interruption             insurance                and to       quote             one    of    the       judges        I


 14         appeared before                   in my       first       year          arguing          coverage


 15         motion,       he       said,       Mr.       Harrison,             before          we    turn       to    the


 16         policy terms,                everybody             knows       that when                an    insured buys


 17         insurance          for       something,             their          reasonable                expectation


 18         is    that    they' re            going       to    be    covered                for    whatever might


 19         befall       them,       but       then we          got       to       go    to    the       policy


 20         language       and       if       indeed          coverage             was       determined by              the


 21         name    of    the       coverage,             business             interruption,                   well,     then


 22         the    insurance             industry             loses       and FMI             loses       this       case


 23         because       we're          not       disputing          that          there          was    business


 24         interruption.                 Although             if    we    were          to    have       to    dig


 25         deeper,       we       would probably                   have       a    dispute          over       whether
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
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   1        plaintiffs             were       non-essential                  businesses,                but    that's


  2         not what          this       Motion          is    about.             The       law    requires          that


  3         we    look       carefully             at    the      policy          language.                 And with


  4         reference             to    Gregory          Packaging,              we're        talking          about          the


  5         release          of    ammonia          into       the      air,       talking             about


   6        something physically                         occurring               and    I    think          it's    --    it's


  7         clear          from    the       plain policy               language             and       the meaning             of


   8        the      terms,        which       are      precisely                defined          in    the    policy,


   9        that       in    this       instance            under       this       policy based                on    these


 10         allegations                there       is    no    direct            covered          loss.


 11                               In    --    in    asking          for      discovery             to       determine


 12         the      true     intent          behind policy                  terms,          right,          that's


 13         something             you need to               speak       about briefly.                       When policy


 14         language          is       clear,       I    am not         aware          of    any precedent


 15         which would                support          denial         of    a   Motion           to    Dismiss          on


 16         the      basis        that       the    plaintiff               is    entitled             to    conduct


 17         discovery             to    see    what         the     drafter            of    the       document,          who


 18         I    can       tell    the       Court      was       not       --    is    not       an    employee          of


 19         FMI,       had    in mind when                  defining             direct       covered          loss       or


 20         covered          loss.


 21                               There             there         is    --       in New       Jersey we             do    have


 22         a    —     a    big    case       called Morton                  International                   which has


 23         to    do       with pollution                exclusions               and       that' s         where    our


 24         courts          created this                —     the      concept          of    regulatory


 25         estoppel          where          essentially               the       insurance             industry
        Case . 2:20-cv-02171-MSG
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   1        lobbied       to    insert             a    particular             form of          coverage             within


  2         a    policy with             an       exclusion             for    --       that    applied             to


  3         environmental                losses             and essentially                   the    courts          found,


  4         hey,    you    came          to       the       Department             of    Banking          and


  5         Insurance          putting             forth          this    policy          language             suggesting


   6        it    would do          something                and       then    you went             to    court          and


  7         suggested          otherwise.                    There       is    no       such    allegation                in


   8        this    case.           I    haven't             seen       any    such       allegation                even


   9        made    in    the       press          or       --    or by       the       various


 10         (indiscernible)                   or       --    or    in    any       case       that' s      being


 11         litigated          that          I'm       aware       of.        When       the    plain policy


 12         terms    apply plainly and directly                                     to    the       facts       asserted,


 13         I'm not       aware          of       any       legitimate             basis       for       denying          a


 14         Motion based                on    the       facts          accepted          as    true       in    the


 15         pleading       on       the       basis          that       plaintiff             wishes       to       take


 16         discovery          to       see       what       the       defendant          meant          by policy


 17         language       that          somebody                else    wrote          which       the    defendant


 18         adopted       if    the          plain          language          controls          and       is


 19         unambiguous             and       I    submit          that       it    does       control          and       it    is


 20         unambiguous             here.


 21                            THE       COURT:              Thank       you.           Gentlemen,             thank          you,


 22         very much.              I'm prepared                   to    rule       on    this       Motion.


 23                            This          matter          comes       before          the    Court          on    a


 24         Motion       Seeking             Dismissal             of    the plaintiffs'                   Complaint


 25         with prejudice                   pursuant             to    Rule       4:6-2(e).              The       Court
        Case . 2:20-cv-02171-MSG
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   1        begins        with     a    few general             observations                concerning          the


  2         standards         governing             dismissal             motions       under       Rule       4:6-


  3         2 (e)    by    citing        Flinn v.                Flinn       v.    Amboy National


  4         Bank,     40     --    436       N.J. Super .        274       (App.       Div.    2014),          "In


  5         reviewing         a    complaint            dismissed           under       Rule    4:6-2(e),


   6        the     inquiry        is    limited          to    examining          the       legal


  7         sufficiency            of    the       facts       alleged       on    the       face    of    the


   8        complaint,"            citing          Printing Mart-Morristown versus


   9        Sharp     Electronics              Corp.,          116    N.J.       739    at    page    746


 10         (1989)        and Rieder           versus          Department          of       Transportation,


 11         221     N.J. Super .         547       at   page     552       (App.       Div.    1987) .


 12                           The       essential          test       as    set    forth       in    Green


 13         versus        Morgan        Properties,             215       N.J.    431       at page       451


 14         (Sup.     Ct .    2013)          is,    "Whether          a    cause       of    action       is


 15         ''suggested'           by    the       facts,"       citing          Printing Mart-


 16         Morristown versus                  Sharp       Electronics             Corp.,       116       N.J,       at


 17         746     quoting Velantzas                   versus        Colgate-Palmolive                   Co.,       109


 18         N.J.     189     at    page       192       (1988) .


 19                           "A       reviewing          court       searches          the    complaint             in


 20         depth     and with           liberality             to    ascertain             whether       the


 21         fundamental            of    a    cause       of    action may be                gleaned,          even


 22         from     an    obscure           statement          of    claim,       opportunity being


 23         given     to     amend       if    necessary,"                citing       Pi    Cristofaro


 24         versus        Laurel        Grove Memorial                Park,       43    N.J. Super .           244    at


 25         page     252     (App.       Div.       1957) .
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
               2:20-cv- 00862l-WSSo cDocument 26-3
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   1                        In    the    case    of    Rule       4:6-2(e),             Dismissals,


  2         "The    Court    is    not    concerned with                   the    ability of             the


  3         plaintiffs       to prove          the    allegation             contained             in    the


  4         complaint,"          citing    Somers          Construction             Co.       versus       Board


  5         of    Education,       198    F . Supp .       732,       734    (Dis.       NJ.       1961).


   6        Instead,


  7                         "The    plaintiffs             are    entitled          to    every


   8        reasonable       inference          of    fact       and       the    examination             of    a


   9        complaint's          allegations          of    fact       required by             the


 10         aforestated principle                should be             one       that    is    at       once


 11         painstaking          and undertaken with                   a    generous          and


 12         hospitable       approach, "


 13                         citing Green versus                   Morgan          Properties,             215


 14         N.J.    431    at page       452    quoting          Printing Mart-Morristown


 15         versus    Sharp       Electronics          Corp.,          116       N.J,    at    746.


 16                         Notwithstanding                this       indulgent          standard,             "A


 17         pleading       should be       dismissed             if    it    states       no       basis       for


 18         relief    and discovery would not provide                               one,"          citing


 19         Rezem Family Associates,                   LP versus             Borough          of


 20         Millstone,       423    N.J. Super.            103    at page          113    (App.          Div.


 21         2011),    cert,       denied and the             appeal          was    dismissed             at    208


 22         N.J.    366    (2011) .       See    also       Sickles          versus       Cabot          Corp.


 23         379    N.J. Super .     100    at    page       106       (App.       Div.    2005)          cert.


 24         denied    at    185    N.J.    297       (2005) .


 25                         In    those    rare       instances,             as    cited       in       Smith
        Case . 2:20-cv-02171-MSG
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   1        versus    SBC       Communications,                Inc.,    178       N.J.    265       at   page


  2         282    (2004),       a    motion       to    dismiss       pursuant          to    Rule       4:6-


  3         2(e)    ordinarily             is    granted without prejudice.                          See


   4        Hoffman       versus       Hampshire             Labs    Incorporated,             405


  5         N.J. Super.         105,       116    (App.       Div.    2009) .


   6                           The    defendant,             Franklin Mutual             Insurance


  7         Company,       hereinafter             FMI,       issued    a    business          owners


   8        policy to plaintiff,                   Optical          Services       USA/JC1          under


   9        policy    number          SBP2598006             with    effective          dates       of


 10         October       5,    2019       to    October       5,    2020.        FMI    issued          the


 11         business       owners          policy       to    the    plaintiff,          Stong OD Ewing


 12         NJ,    LLC,    hereinafter             Stong OD,          bearing policy number


 13         SBP2613680          with effective                dates    of April          1,    2020       to


 14         April    1,    2021.           Optical       Services       USA/JC1          and    Stong OD


 15         filed    separate          claims       seeking          loss    of    business          income


 16         caused by          the    closure       mandated by             Governor          Murphy' s


 17         March    21,       2020    Executive             Order    Number       107    suspending


 18         the    operation          of    non-essential             retail       businesses             on   the


 19         account       of    the    Covid-19          pandemic.           Plaintiffs             closed


 20         their    businesses             on March          20,    2020    and have          not


 21         reopened       to    date.           Plaintiffs          allege       that    Executive


 22         Order    Number          107    mandated          the    closure       of    their


 23         businesses.              FMI    issued       letters       dated April             6,    2020      and


 24         April    14,       2020    to       Optical       Services       USA/JC1          and    Stong OD


 25         denying       their       claims       for       business       income       and    related
        Case . 2:20-cv-02171-MSG
Case 1.2Case   2:20-cv-00862-WSS     Document 26f3
               2:20-cv- 00862l-WSSo cDocument 26-3
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   1        expenses .           Plaintiffs,             Optical          Services          USA,    LLC,


  2         Optical        Services             USA-WO,       Re    and Le          Holdings,       LLC    were


  3         not    named        insureds          on    either policy.


  4                             Both policies                contained          the    BU04010110


  5         Business        Owners          Policy       Form.           The    plaintiffs          allege


   6        that     the    --       the    plaintiffs             allege       that    Optical          Services


  7         USA/JC1,        Optical             Services       USA,       LLC,       Optical       Services


   8        USA-WO,        Re    and       La    --    and    Le    Holding,          LLC    and    Stong       OD


   9        Ewing     NJ,       LLC    purchased business                      interruption             insurance


 10         from     insurers          to       protect       their business                from    an    --    an


 11         unanticipated crisis.                        The plaintiffs                further          allege


 12         that     the    policies             issued by          FMI    provide          coverage       for


 13         loss     of    income          resulting          from a necessary                interruption


 14         of plaintiffs'                 businesses          caused by direct                covered


 15         losses        and temporary                closures          required by          orders       of    a


 16         civil     authority.


 17                             A Complaint             for    a    Declaratory             Judgment       in


 18         this     action was             filed on          June       25,    2020.        The    Complaint


 19         also     included          a    Demand       for       Trial       by    Jury.     No       answer


 20         has    been     filed by             the    defendant,             FMI.     Therefore,             the


 21         discovery           end    date       has    not       been    established             in    this


 22         case .



 23                             On    July       15,    2020,       the    defendant,          FMI,       filed      a


 24         Motion        Seeking          Dismissal          of    the    Complaint          pursuant          to


 25         Rule     4 : 6-2 (e) .          Within       days       of    filing       the    Complaint,
         Case 2:20-cv-02171-MSG
              2:20-cv-00862-WSS
Case l:2CaseC2!20BeVH              Document 26-3IetfiffitfC09/2B/20lcgPagBc24C
                      00862l-WSSQ cDocument 26-3
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  1         the    defendant,                FMI,       filed          the       within Motion                to    Dismiss.


  2         It    is    clear          that       there          is    no    established             record          in    this


  3         case       and there             has      been        no       discovery presented                      to    the


  4         Court       for       consideration                   with       respect          to    the       arguments


  5         and events             by       respective                legal       counsel.


   6        Notwithstanding                      same,       the       defendants             argued          three


  7         points       before             this      Court.               The    first       legal       argument             is


  8         that       the    Court          should          dismiss             the    complaint             for    failure


   9        to    state       a    legally             cognizable                claim.        The       second          legal


 10         argument          is       that       the       plaintiffs             did    not       sustain          direct


 11         physical          loss          or    direct          physical             damage       to    or


 12         destruction                of    covered property precluding                                  coverage             for


 13         business          income             or    extra          expenses          under       the       FMI    policy.


 14         Lastly,          the       defendants                argue       that       the    plaintiffs


 15         occupancy             of    their          respective                properties          was       not


 16         prohibited by                   civil       authorities                because          of    a    loss       at    a


 17         local      premises              not       owned          or    occupied by             the       plaintiffs


 18         precluding             civil          authority                coverage       under          the       FMI


 19         policies .


 20                               The       plaintiffs                argue       before       this       Court          that


 21         they       state       claims             for    coverage             under       the    policies


 22         because          they       suffered             a    direct          covered          loss       and    were


 23         forced       to       close          their business                   by    order       of    a    civil


 24         authority.                 Plaintiffs                further          allege       that       they       state


 25         claims       for       loss          of    income          coverage because                   they
        Case . 2:20-cv-02171-MSG
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   1        suffered a       direct       covered             loss    under          the    policy and


  2         they    state    claims       for       civil          coverage          because          the


   3        closure    order prohibited                   the      plaintiffs              from       accessing


   4        their business.


   5                        Naturally,          each          of    the    respective             arguments


   6        advanced by       the    parties             reguires          a    fact-sensitive


   7        analysis       wherein       the    respective                parties          have       failed      to


   8        present    a    sufficient          record before                   this       Court       for    a


   9        legal   determination              of    their          respective             positions.


 10         There   has     been    no    discovery produced                         to    the    Court       for


 11         consideration,          no    affidavits,                no    certifications,                   or


 12         sworn   testimony        derived             from       depositions.                 In    fact,


 13         discovery has          not been undertaken by the                               parties          with


 14         respect    to    the    declaratory                relief          sought       in    the


 15         Complaint.        Notwithstanding                      these       deficiencies,                the


 16         Court   will     endeavor          to    address          the       legal       arguments


 17         advanced by       the    respective                parties          on    the    extremely


 18         limited    record provided                   to    the    Court.


 19                         The    defendant,             FMI,       concedes             that    the


 20         plaintiffs'       business          operations                were       interrupted by an


 21         executive       order    based          on    the       risk       of    the    Covid-19          virus


 22         transmission          throughout             the       State       of    New    Jersey.           The


 23         pivotal    issue       before       this          Court       is    the       parties'


 24         interpretation          of    the       subject          policy          language          and    FMI's


 25         claim denial          premised on             a    narrow          interpretation                of   the
        Case . 2:20-cv-02171-MSG
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   1        terms    of       the       subject             policies.                 The    issue       before       this


  2         Court    is       the       interpretation                      of    a    direct          covered       loss


   3        under    the      policy           and whether                   or       not    there       was       physical


   4        damage       to    the       plaintiffs'                   business.


   5                           The       plaintiffs                argue          that       the       loss    of


   6        physical          functionality                   and       the       use       of    their business


   7        constitutes             a    covered             loss       under          the       policies.           The


   8        plaintiffs            argue        that          Governor             Murphy' s            executive          order


   9        prohibited access                      to       the    plaintiffs'                   premises.


 10                            FMI       argues             that       the       plaintiffs             failed       to


 11         state    a    claim          for       civil          authority             coverage          because          the


 12         complaint          does       not       allege             that property damage                         occurred


 13         elsewhere          leading to                   the    loss          of    access          to plaintiffs'


 14         business .            The     defendant                acknowledged                   in    their moving


 15         papers       that       presumably                the       plaintiffs                will    argue       that


 16         while    their properties                         were          not physically damaged,


 17         they    sustained             a    physical                loss       by    operation             of    the


 18         Governor's            executive                 order.           FMI       argues          that    the


 19         plaintiffs'             loss       of       use       of    their          respective             properties


 20         does    not       constitute                a    direct          physical             loss    and


 21         therefore          is       not    a    direct             covered          loss       defined by             the


 22         policies .


 23                           A     simple          review             of    the moving papers


 24         indicates          that       the       defendant                has       not provided this


 25         Court    with         any     controlling                   legal          authority          to       support
        Case . 2:20-cv-02171-MSG
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   1        their version                   of    the       interpretation               of       the    defined


  2         terms       in    the          policy.           In    fact,      there          is    limited          legal


  3         authority             in       the    State       of New         Jersey          addressing this


  4         issue .          This          is    not    surprising            to       the    Court       as       the


  5         State       of    New          Jersey was             recently         faced          with    a    historic


   6        event       which was                unprecedented with                     respect          to    the


  7         losses       sustained by businesses                              across          the       State       of    New


   8        Jersey       due       to       the       proliferation               of    the       Covid-19


   9        pandemic .             The          defendant          argues         that       there       is    a    plain


 10         meaning          of    "direct             physical          loss"         and    the       closure          of


 11         the    plaintiffs'                   business          does      not       gualify          for    business


 12               I'm    sorry,             gualify          for    purposes            of    coverage.                 This


 13         is    a blanket                statement unsupported by any common                                          law    in


 14         the    State          of       New    Jersey          or by      a blanket             review of             the


 15         policy       language.                    Moreover,          there         has    been       no    discovery


 16         taken       in    this          matter          which       would provide               guidance             to


 17         the    Court          with          respect       to    a    Motion         to    Dismiss          filed


 18         under       Rule       4:6-2(e).


 19                               Pursuant             to    the    legal         authority             recited by


 20         this    Court          with          regard to          the      standards             associated with


 21         filing       such          a    motion,          the    plaintiff            should be             permitted


 22         to    engage          in       issue-oriented                discovery            and       also       be


 23         permitted             to       amend       its    complaint            accordingly prior                      to


 24         an    adjudication                   on    the merits            of    any policy             language.


 25         Such    a motion                is    premature             at   best.
        Case . 2:20-cv-02171-MSG
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               2:20-cv- 00862l-WSSo cDocument 26-3
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  1                               It       is    noteworthy                to mention             that       the


  2         plaintiffs'                argument             set       forth       to       this       Court    that       the


  3         loss       of    use       of       their       business             because          the    State       of       New


  4         Jersey          deemed             all    non-essential                   businesses             unsafe


  5         constitutes                a       direct       covered          loss          under       the    policy          is


   6        the    pivotal             issue          in    the       absence          of       any    issue-oriented


  7         discovery             on       this       topic          is    whether          direct       physical             loss


  8         and direct             physical                damage          encompasses                closure       for


   9        businesses             that          bears          no    specific             --    relationship             to       a


 10         specific          condition                on       the       property pursuant                   to    an


 11         executive             order.              The       plaintiffs             counter          that       argument


 12         by alleging that                         the    executive             order          of    the    Governor


 13         deemed all             non-essential                      businesses                unsafe       given       the


 14         risk       of    transmission                   of       Covid-19          thus       the    closure          order


 15         had    a    specific                relationship                to    a    specific          condition


 16         within          the    plaintiffs'                   business.


 17                               The          plaintiffs             provide          a    citation          from


 18         Wakefern          Food             Corp.       versus          Liberty Mutual                Fire


 19         Insurance             Company,             406       N.J. Super .              524    (App.       Div.       2019)


 20         to    support          their             argument.              Their          argument          based       on    the


 21         holding          of    Wakefern                is    that       there          was    a    finding       of


 22         coverage          for          a    grocery          store       that          lost       power    when       an


 23         electrical             grid          and transmission                      lines          were    physically


 24         incapable             of performing                      their       essential             function          of


 25         providing             electricity                   even       though          they were          not
        Case . 2:20-cv-02171-MSG
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   1        necessarily             damaged.           The    Court       in    Wakefern          did hold


  2         that,


  3                            "Since       the       term    "physical"             can mean       more       than


  4         material          alteration          or    damage,          it    is    incumbent          on    the


  5         insurer       to       clearly       and    specifically                rule    out    coverage


   6        in    the    circumstances                where    it    was       not    to    be    provided."


  7                            Citing Wakefern                versus          Liberty Mutual


   8        Insurance          Company,          406    N.J. Super .           at    542.        Also    citing


   9        Customized Distribution                      Services             versus       Zurich


 10         Insurance          Co.,       373    N.J. Super .        480       at page       491    (App.


 11         Div.    2004),          cert,       denied at          183    N.J.       214    (2005).


 12                            The    Court       finds       such       an    argument          compelling


 13         for purposes             of    surviving          a Motion          to    Dismiss       pursuant


 14         to    Rule    4 : 6-2 (e)       in    the    absence          of    any    complete          record


 15         for    disposition.                 Again,       the    Court       notes       in    the    absence


 16         of    the    legal       precedent          set    forth          in Wakefern,          there       is


 17         a    lack    of    controlling             legal       authority presented                   to    the


 18         Court       for    consideration             in    this       regard.


 19                            "When       interpreting             insurance          contracts,             the


 20         intention          of    the    parties          must    be       determined          from the


 21         language          of    the    policy, "         citing       Stone       v.    Royal


 22         Insurance          Company,          211    N. J. Super.           246    at page       248       (App.


 23         Div.    1986) .          "When       the    terms       of    the       contract       are       clear


 24         and unambiguous,                the       Court    must       enforce          the    contract          as


 25         written . "            That    is    an    incitation             at page       248.
        Case . 2:20-cv-02171-MSG
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   1                              The       language          which       forms          the       basis       of    the


  2         complaint             and the          filing       of    a    Motion             to    Dismiss          is


   3        subject          to    further          analysis          and       interpretation.                       By


   4        operation             of    the       distinct       and       opposite                interpretations


   5        of    the       language          set       forth    before             the       Court       by    the


   6        parties         with        no    other       clarity          from the                record having


   7        been    established to                      date,    which          the       Court          notes       is


   8        largely          non-existent,                this       Court          reaches          the       inevitable


   9        conclusion             solely          for    purposes             of    disposition                of    this


 10         Motion          that       the    plaintiff          should be                afforded             the


 11         opportunity                to    develop          their       case       and prove                before       this


 12         Court       that       the       event       of    the    Covid-19                closure may be                   a


 13         covered event                   under       the    Coverage             C,    Loss       of       Income,


 14         when    occupancy                of    the    described premises                         is       prohibited


 15         by    civil       authorities.                    There       is    an       interesting                argument


 16         made    before             this       Court       that    physical                damage          occurs


 17         where       a   policy           holder       loses       functionality                      of    their


 18         property and by                   operation          of       civil          authority             such       as


 19         the    entry of             an    executive          order          results             in    a    change          to


 20         the    property.


 21                               The       plaintiffs          are       offering             in    advancing             in       a


 22         novel       theory          of    insurance          coverage                in    this       matter          that


 23         warrants          a    denial          of    the Motion             to       Dismiss          at    this


 24         early       stage          of    the    litigation.                As        such,       this       Court


 25         must    afford the                plaintiffs             an    opportunity to                      engage          in
        Case . 2:20-cv-02171-MSG
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  1         issue-oriented        discovery with             FMI       in    order    to    fully


  2         establish     the    record with          respect          to    direct       covered


  3         losses    and to    amend        the    Complaint          accordingly          if


  4         required.      To   that     end,       the    Motion       to    Dismiss       is


  5         denied.


   6                      Gentlemen,          I    will    have    an       order    prepared          and


  7         most    likely uploaded by              this    afternoon.              Again,       I    want


  8         to   thank   you    for    your       briefs    and    I    thank       you    for       your


   9        legal    arguments        here    today.


 10                       MR.   HARRISON:            Thank    you,          Your    Honor.           Have    a


 11         good weekend.


 12                       THE   COURT:            Thank    you,    gentlemen.


 13                      (Proceeding         concluded       at    10:08:29          a.m.)


 14


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        Case I 2:20-cv-02171-MSG
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            hereby      certify       the    foregoing          transcript         of    proceedings


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            compliance         with    the    current       Transcript         Format          for


            Judicial      Proceedings          and    is    a    true   and    accurate          non-


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